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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON




ELIZABETH HUNTER, et al.,


               Plaintiffs,                                   Civ. No. 6:21-cv-00474-AA

                       v.                                    JUDGMENT

UNITED STATES DEPARTMENT OF
EDUCATION, et al.,


               Defendants,


COUNCIL FOR CHRISTIAN COLLEGES &
UNIVERSITIES, et al.,


               Defendant-Intervenors.

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         This case is DISMISSED in accordance with the Court's accompanying Opinion and

Order.


         DATED: 1/12/2023

                                            Melissa Aubin, Clerk

                                            By    /s/ C. Kramer
                                                  Deputy Clerk

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